Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 1 of 7 PageID #: 491

                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA


DAVID PAUL HAMMER,                                     )
                                                       )
                                  Plaintiff,           )
      vs.                                              )      IP 01-558-C-T/G
                                                       )
JOHN ASHCROFT, Attorney General of the                 )
 United States, et al.,                                )
                                                       )
                                  Defendants.          )




                  Entry Discussing Motion for Summary Judgment

     This cause is before the court on the amended complaint of plaintiff David Paul
Hammer, on the defendants’ answer, and on the defendants’ motion for summary
judgment.

        Whereupon the court, having considered the pleadings, the motion for summary
judgment, the response thereto and the defendants’ reply, and being duly advised, now
finds that the motion for summary judgment must be granted. This conclusion rests on the
following facts and circumstances:

       1.     As used in this Entry, “Hammer” refers to the plaintiff, David Paul Hammer,
“USPTH” refers to the United States Penitentiary at Terre Haute, Indiana, “BOP” refers to
the Federal Bureau of Prisons, “Attorney General Ashcroft” refers to former United States
Attorney General John Ashcroft, “Director Lappin” or “Warden Lappin” refers to BOP
Director Harley Lappin, “Director Sawyer-Hawk” refers to former BOP Director Kathleen
Sawyer-Hawk, and “Warden Olson” refers to USPTH Warden Keith Olson.

       2.    As noted, the defendants seek resolution of Hammer’s claims through the
entry of summary judgment.

      a.      The purpose of summary judgment is to "pierce the pleadings and to assess
      the proof in order to see whether there is a genuine need for trial." Advisory
      Committee Note to 1963 Amendment of FED.R.CIV.P. 56(e) (quoted in Matsushita
      Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). "Summary
      Judgment is not appropriate 'if the evidence is such that a reasonable jury could
      return a verdict for the nonmoving party.’" In a motion for summary judgment, the
      court "may not make credibility determinations, weigh the evidence, or decide which
      inferences to draw from the facts; these are jobs for a factfinder." Payne v. Pauley,
      337 F.3d 767, 770 (7th Cir. 2003)(citations omitted). "Rather, ‘[t]he court has one
Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 2 of 7 PageID #: 492

      task and one task only: to decide, based on the evidence of record, whether there
      is any material dispute of fact that requires a trial.’" Id. (quoting Waldridge v. Am.
      Hoechst Corp., 24 F.3d 918, 920 (7th Cir. 1994)). If a reasonable jury could return
      a verdict in favor the nonmovant, summary judgment should not be granted. Id.
      (citation omitted).

      b.       A court will grant summary judgment if "there is no genuine issue as to any
      material fact and that the moving party is entitled to judgment as a matter of law."
      Scott v. Edinburg, 346 F.3d 752, 755 (7th Cir. 2003) (quoting FED.R.CIV.P. 56(c) and
      citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). The court must "construe
      all facts in a light most favorable to . . . the party opposing summary judgment, and
      . . . draw all reasonable inferences in his favor." McGreal v. Ostrov, 368 F.3d 657,
      672 (7th Cir. 2004) (citation omitted). "'In the light most favorable' simply means that
      summary judgment is not appropriate if the court must make ‘a choice of
      inferences.’" Draghi v. County of Cook, 184 F.3d 689, 691 (7th Cir. 1999) (quoting
      Smith v. Severn, 129 F.3d 419, 425 (7th Cir. 1997)). However, the nonmoving party
      bears the burden of coming forward with specific facts from the record which show
      a genuine issue of material fact. Morfin v. City of E. Chi., 349 F.3d 989, 997 (7th Cir.
      2003) (citation omitted). "It is a well-settled rule that a party opposing a summary
      judgment motion must inform the trial judge of the reasons, legal or factual, why
      summary judgment should not be entered." Liberles v. County of Cook, 709 F.3d
      1122, 1126 (7th Cir. 1983).

         3.    "Relief from misconduct by federal agents may be obtained either by a suit
against the agent for a constitutional tort under the theory set forth in Bivens v. Six
Unknown Named Agents, 403 U.S. 388 (1971), or by a suit against the United States under
the Federal Tort Claims Act [FTCA] . . . which permits claims based upon misconduct which
is tortious under state law. 28 U.S.C. §§ 1346(6), 2680." Sisk v. United States, 756 F.2d
497, 500 n.4 (7th Cir. 1985). Hammer has chosen the Bivens route.

      a.     Claims asserted under a Bivens theory are brought pursuant to subject
      matter jurisdiction conferred by 28 U.S.C. § 1331, which provides that "[t]he District
      Courts shall have original jurisdiction of all civil actions arising under the
      Constitution, laws, or treaties of the United States."

      b.     A prerequisite to maintaining an action under §1331 is that the plaintiff "must
      allege a violation of the United States Constitution or a federal statute." Goulding v.
      Feinglass, 811 F.2d 1099, 1102 (7th Cir. 1987), cert. denied, 107 S. Ct. 3215
      (1987).

      c.      Bivens “authorizes the filing of constitutional tort suits against federal officers
      in much the same way that 42 U.S.C. § 1983 authorizes such suits against state
      officers.” King v. Federal Bureau of Prisons, 415 F.3d 634, 636 (7th Cir. 2005).
      Thus, one feature of a Bivens action is that the plaintiff must allege that the
      individual defendants were personally involved in the violation of his constitutional
      rights. See Barbera v. Smith, 836 F.2d 96, 99 (2d Cir. 1987), cert. denied sub nom.
      Barbera v. Schlessinger, 489 U.S. 1065 (1989).

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Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 3 of 7 PageID #: 493

       4.     Hammer’s claims which survive prior rulings and certain voluntary dismissals
are that the defendants violated his First Amendment rights by denying and restricting his
access to the news media based on the content of his message and his status as a federal
death-row inmate. He alleges that between March 2000 and April 2001 a number of news
organizations wished to conduct face-to-face or video-conference interviews with him, but that
Warden Lappin denied every one of his requests to participate in the interviews. In addition,
Hammer alleges that Warden Lappin unconstitutionally restricted Hammer’s ability to
communicate with the media via telephone or mail correspondence. Hammer seeks
compensatory and punitive damages and injunctive relief.

      5.     Several general principles guide the court's consideration of the free speech
and association claims presented. Among these principles are those on which the Court
of Appeals relied in finding that the dismissal of the present action pursuant to 28 U.S.C.
§ 1915A(b) was premature. Hammer v. Ashcroft, 2002 WL 1732580 (7th Cir. 2002)
(unpublished).

       a.     Lawful "incarceration brings about the necessary withdrawal or limitation of
       many privileges and rights, a retraction justified by the considerations underlying our
       penal system." O'Lone v. Estate of Shabazz, 482 U.S. 342, 348 (1987) (citing Price
       v. Johnston, 334 U.S. 266, 285 (1948)).

       b.    Nonetheless, "convicted prisoners do not forfeit all constitutional protections
       by reason of their conviction and confinement in prison." Bell v. Wolfish, 441 U.S.
       520, 545 (1979).

       c.       Inmates retain First Amendment rights that are consistent with incarceration,
       and prison restrictions limiting or interfering with those rights must reasonably relate
       to legitimate penological interests. Turner v. Safley, 482 U.S. 78, 89 (1987); Rowe v.
       Shake, 196 F.3d 778, 782 (7th Cir. 1999).

       d.     While inmates' free-speech rights include access to the media, inmates do not
       have a right to face-to-face interviews so long as other avenues of communication are
       open to them, and regulations denying face-to-face interviews are applied in a neutral,
       equal manner without regard to content. See Pell v. Procunier, 417 U.S. 817, 827- 28
       (1974); Rowe, 196 F.3d at 782; Abu-Jamal v. Price, 154 F.3d 128, 134 (3d Cir. 1998).
       Prison officials are given deference in establishing regulations and in determining
       appropriate restrictions, and a court will not second-guess regulations or practices that
       serve legitimate penological interests. Turner, 482 U.S. at 89. Additionally, as an
       incident of their incarceration, prisoners lack the same freedom to criticize they
       would enjoy on the outside. Gibbs v. King, 779 F.2d 1040 (5th Cir.), cert. denied,
       476 U.S. 1117 (1986).

       e.      The Supreme Court has delineated four factors for determining whether a
       specific regulation or practice serves a legitimate penological interest. Turner, 482 U.S.
       at 89-90. The primary factor is whether a valid, rational connection exists between the
       restriction and a legitimate interest. Id. A restriction on speech that fails to meet this
       connection fails under Turner. See Shaw v. Murphy, 532 U.S. 223, 229-30 (2001).

                                               3
Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 4 of 7 PageID #: 494

       The other factors relevant in determining a restriction's reasonableness include
       whether the inmate has alternative means of exercising the right; the impact
       accommodation of the asserted right would have on guards, other inmates, and prison
       resources; and the absence of a reasonable alternative to the regulation or practice.
       Turner, 482 U.S. at 90.

       f.      In determining whether a prison regulation is "'reasonably related to legitimate
       penological interests,'" a prisoner "must overcome the presumption that the prison
       officials acted within their 'broad discretion.'" Shaw v. Murphy, 532 U.S. 223 (2001).
       “The burden, moreover, is not on the State to prove the validity of prison regulations
       but on the prisoner to disprove it.” Overton v. Bazzetta, 532 U.S. 126, 132 (2003).

       6.     As to each of the various specifications of improper action, whether it be the
promulgation or implementation of BOP policies or actions assertedly taken outside the
bounds of such policies, Attorney General Ashcroft and Director Hawk-Sawyer were not
personally involved. The consequence of this is that these defendants are not liable to
Hammer for any of those actions and they are entitled to the entry of summary judgment
as to the claims against them.

        7.     Warden Lappin was Warden of the USPTH from October 25, 1998, until July
of 2001. As Warden, Lappin had overall responsibility of all functions of the institution and
in that role he planned, directed and coordinated institution programs covering a broad
range of diverse issues related to complex institution safety and security requirements.
Warden Olson was Warden of the USPTH from August 26, 2001, until September 30,
2004.

       8.    On July 13, 1999, the Special Confinement Unit (“SCU”) was activated at the
USPTH. The SCU is the assigned housing unit for male prisoners under federal sentences
of death. While at the USPTH, Hammer has been assigned to the SCU.

         9.     The BOP promulgates Program Statements that contain the internal operating
policies and procedures of the Bureau in order to provide direction to Bureau personnel in
the operation of the federal prison systems. Following the activation of the SCU, numerous
institution supplements were reviewed to ascertain if modifications were needed to
specifically address the special and unique needs of the SCU. An institution supplement
is a statement of procedure which is required in order to given direction to operations of a
BOP facility because of local conditions. Institution supplements are reviewed by institution
staff and signed by the Warden. Because the USPTH is the only federal facility with such
a unit, these policies are specific to the USPTH. Management of the SCU at the USPTH
requires consideration of factors not present, or not present to the same degree, in other
housing units of the USPTH or other units of other prisons operated by the BOP. The SCU
is unique, as is its inmate population. In considering the supplement to Program Statement
1480.05, prison personnel (including Warden Lappin) intended to balance the interests of
the inmate and the journalist along with the interests of the BOP with respect to its
responsibility of maintaining security and good order at the institution. Additionally, it was
the intent of those involved with implementing the Supplement to safeguard the safety and
the rights (including privacy rights) of institution staff and of the inmate population. These

                                              4
Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 5 of 7 PageID #: 495

were legitimate concerns in the specific environment which was being administered. There
was the potential for inmates to be perceived as “jail celebrities,” which could disrupt the
orderly operation of the prison by undermining prison security. Additionally, the right of
privacy of other inmates was a consideration. In a correctional setting, slights, insults or
provocations, real or imagined, can result in inmate-on-inmate violence and thus can have
dire consequences for inmates, penitentiary staff, and the public at large. The result of this
effort was the adoption of Institution Supplement THA 1480.05A.1

         The procedures implemented as the result of these concerns were determined to
be the least restrictive method of protecting the various interests involved–the interest of
the individual inmate, the interests of the inmate as a whole, and the interests of the public
as a whole. Although Institution Supplement THA 1480.05A restricts Hammer’s access to
face-to-face interviews with members of the media, it does so in a manner fully in accord
with the standard established in Turner. That is, the restriction contained in Institution
Supplement THA 1480.05A is reasonably related to legitimate penological interests.
Hammer has not shown otherwise, even though it is his burden to do so, Overton v.
Bazzetta, 532 U.S. 126, 132 (2003), and the evidentiary record shows in every respect that
the regulation adopted by Warden Lappin via Institution Supplement THA 1480.05A
withstands Hammer’s constitutional challenge. Not only is the restriction reasonably related
to legitimate penological interests, but the restriction is applied in a neutral manner without
regard to content. The restriction is applied equally among inmates housed in the SCU.
Hammer and other inmates assigned to the SCU may contact media representatives through
general and special mail, as well as through monitored and unmonitored telephone calls,
giving these inmates an alternative means of exercising the right. Accommodating the
unfettered right Hammer asserts would have a disruptive impact on the operation of the
prison. Institution Supplement THA 1480.05A sets forth restrictions on inmate content with
the media only in areas reasonably deemed proper for the purpose of operating the prison.
Although Warden Lappin denied several requests by media representatives for personal
interviews with Hammer, Hammer and other inmates assigned to the SCU have meaningful
access to the media, and Institution Supplement THA 1480.05A does not infringe on the
constitutional guarantee of that access. See Johnson v. Stephan, 6 F.3d 691, 692 (10th Cir.
1993) (prisoner’s First Amendment rights not violated when prison officials denied face-to-
face interview with prisoner since alternative means of communication were available);
Mitford v. Pickett, 363 F.Supp. 975, 978 (E.D.Ill. 1973) (prison regulations limiting personal
interviews of inmates by the press is an internal affair of prison and does not violate the
First Amendment where inmates and the press have ample opportunity to communicate
by mail). The fact that Hammer does not assess his own history of communication with the
media as anything other than benign is not significant, Lujan v. National Wildlife Federation,
497 U.S. 871, 888 (1990) (“[t]he object of [Rule 56(e)] is not to replace conclusory
allegations of the complaint or answer with conclusory allegations of an affidavit”), just as
the fact that the restrictions imposed in Institution Supplement THA 1480.05A were not
always in place is not significant, for inmates acquire no interest in unchanging conditions


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         Institution Supplement THA 1480.05A was replaced with Institution Supplement THA 1480.05B
in January 2003. For the purpose of the present record, no substantive changes were made to the section
addressing media interviews for SCU inmates.

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Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 6 of 7 PageID #: 496

of their confinement. Meachum v. Fano, 427 U.S. 215, 225 (1976) (transfer of inmates to
prison with more burdensome conditions of confinement not a violation of due process).
The Supreme Court has stated that content-based speech restrictions are "neutral" so long
as distinctions are drawn "solely on the basis of their potential implications for prison
security." Thornburgh v. Abbott, 490 U.S. 401, 415-16 (1989). Thus, while the government
here is proscribing the content of the speech of SCU inmates, this is "neutral" for purposes
of this analysis. See also Giano v. Senkowski, 54 F.3d 1050, 1055 (2d Cir. 1995)
(discussing neutrality under Turner ).

      10.    Warden Olson was not involved in the drafting or implementation of Institution
Supplement 1480.05A in any respect. He did approve the replacement document in
January 2003, this being Institution Supplement THA 1480.05B. As noted, however, no
substantive changes were made to the section addressing media interviews for SCU
inmates.

        11.    Hammer’s case is built around the view that he is entitled to participate in
interviews without regard to the management and control of the SCU. This ignores the
realities of the SCU, the reason for its existence, and the legitimate–even the
paramount–interests of prison authorities in carrying out the difficult task of operating the
SCU.2 This task warrants deference from the courts, which must be sensitive to their expert
judgment and mindful that the judiciary is "'ill equipped' to deal with the difficult and delicate
problems of prison management." Thornburgh v. Abbott, 490 U.S. 401, 407-08 (1989). At
the same time, that deference "must be schooled, not absolute." Campbell v. Miller, 787
F.2d 217, 227 n.17 (7th Cir.), cert. denied, 479 U.S. 1019 (1986). The fact that initial
responsibility for the prison is vested in prison administrators "does not mean that
constitutional rights are not to be scrupulously observed." Bell, 441 U.S. at 562. For the
reasons explained above, prison authorities–including the defendants–have not
overstepped the constitutional limits, and the regulation they have crafted is not, as
Hammer characterizes it, a simple limit on speech they would find offensive. In the specific
environment in which Hammer finds himself, the regulation is a compelling adjunct to the
sound management of the SCU–amply passing the constitutional challenge pressed in this
case. See, e.g., Hewitt v. Helms, 459 U.S. 460, 473 (1983) ("[t]he safety of the institution's
guards and inmates is perhaps the fundamental responsibility of the prison administration");
Pell v. Procunier, 417 U.S. 817, 823 (1974) (security is "central to all other corrections
goals").

       12.     Claims such as those presented in this case must be considered in light of
the special environment of a prison, where administrators "must be accorded wide-ranging
deference in the . . . execution of policies and practices that in their judgment are needed
to preserve internal order and discipline and to maintain institutional security." Pardo v.
Hosier, 946 F.2d 1278, 1280-81 (7th Cir. 1991) (internal quotations omitted). Nonetheless,
"[f]ederal courts must take cognizance of the valid constitutional claims of prison inmates."
Babcock v. White, 102 F.3d 267, 275 (7th Cir. 1996) (quoting Turner v. Safley, 482 U.S.


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        As Hammer himself concedes, he is on death row for having murdered a fellow inmate at
a federal prison in Pennsylvania.

                                                6
Case 1:01-cv-00558-JDT-JPG Document 14 Filed 02/23/06 Page 7 of 7 PageID #: 497

78, 84 (1987)). Hammer has not identified a genuine issue of material fact as to his claims
against the defendants. Their motion for summary judgment is therefore granted.

        Judgment consistent with this Entry shall now issue.

        IT IS SO ORDERED.




          2/23/2006                           _______________________________
Date:
                                                John Daniel Tinder, Judge
                                                United States District Court
